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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

         v.

 DOUGLAS EDELMAN                                            Case No. 24-cr-239 (CKK)

 and

 DELPHINE LE DAIN,

         Defendants.


       MOTION FOR ENTRY OF AN ORDER FOR THE PSYCHOLOGICAL AND
        PSYCHIATRIC EVALUATION OF DEFENDANT DOUGLAS EDELMAN

       At the March 13, 2025 status conference, counsel for Defendant Douglas Edelman

informed this Court that she intended to move for an order to have Mr. Edelman’s competency

evaluated. In a March 13, 2025 Order from the bench and March 14, 2025 minute Order, this Court

directed counsel to file an appropriate order to facilitate that evaluation. Mr. Edelman has filed this

Motion and Proposed Order, by which he respectfully requests this Court issue an Order to the

following effect:

       First, Mr. Edelman respectfully moves the Court for the entry of an order directing the

Warden of the D.C. Correctional Treatment Facility (“CTF”) to allow Dr. Jeremy A. Blank, PsyD

and Dr. Charles E. Saldanha, MD access to CTF and Mr. Edelman for the purpose of conducting

psychological testing and a psychiatric interview for an assessment of Mr. Edelman’s competency

pursuant to the following conditions:

       1.      On March 22, 2025, Dr. Blank shall have nine uninterrupted hours to perform

               psychological testing on Mr. Edelman;


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       2.     On March 23, 2025, Dr. Saldanha shall have seven uninterrupted hours to perform

              a psychiatric interview on Mr. Edelman;

       3.     Both Dr. Blank and Dr. Saldanha shall be provided a private, quiet space with two

              chairs and a table, in which Dr. Blank and Dr. Saldanha will be able to perform

              their respective analyses on Mr. Edelman;

       4.     Both Dr. Blank and Dr. Saldanha shall be permitted to bring their laptops and

              tablets into CTF;

       5.     Both Dr. Blank and Dr. Saldanha shall be permitted to bring their cellular phones

              into CTF to use them as hotspots, for internet access required to perform their

              respective analyses;

       6.     Both Dr. Blank and Dr. Saldanha shall be permitted to have writing utensils and

              paper, printed psychiatric exams, printed psychological exams, booklets, cards,

              rubber bands, paper clips, motor functioning tests, a stopwatch, lunch, and a drink;

              and

       7.     On both March 22 and 23, 2025, Mr. Edelman shall be allowed to eat lunch during

              the course of the analyses.

       Dr. Blank is a forensic neuropsychologist and has a current license to practice as a

psychologist in the state of California (License Number PSY27148). Dr. Saldanha is a board-

certified psychiatrist and has current licenses to practice medicine in the states of California

(License Number 179250) and New York (License Number 324750). Counsel for Mr. Edelman

has already secured approval from the CTF Warden for Dr. Blank and Dr. Saldanha’s entry.

       Second, Mr. Edelman respectfully moves the Court for the entry of an order authorizing

the D.C. Department of Corrections to provide copies of Mr. Edelman’s medical records to Drs.



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Blank and Saldanha for the purpose of conducting the psychological and psychiatric assessment

of Defendant.

        Third, Mr. Edelman also respectfully requests the Court to allow until April 3, 2025, for

Mr. Edelman to submit the experts’ report to the Court. Drs. Blank and Saldanha are unable to see

Mr. Edelman until March 22 and 23, 2025. They will not be able to finalize their report until March

31, 2025, at the earliest, meaning their report will not be submitted in advance of the March 26,

2025, status hearing as directed by the Court. An extension to April 3, 2025, will give Drs. Blank

and Saldanha sufficient time to draft their report to assist this Court in determining Mr. Edelman’s

competency. The government does not object to Mr. Edelman’s request for additional time to file

the report.

        Mr. Edelman also respectfully requests the Court continue the status hearing currently

scheduled for March 26, 2025. Mr. Edelman proposes an April 4, 2025, status hearing, which is a

date the government prefers. Such a continuance would allow the Court to review the report of

Drs. Black and Saldanha.

        For the reasons stated herein, Mr. Edelman respectfully requests this Court grant this

Motion.

Respectfully submitted,


/S/ George M. Clarke, III                                 /S/ Sonya C. Bishop
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Dated: March 19, 2024


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